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           Exhibit 8
     (Submitted Under Seal)
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                   Infringement Claim Chart for U.S. Patent No. 7,844,915 against the Galaxy Tab 10.1 Tablet

         U.S. Patent No. 7,844,915                                            Samsung Galaxy Tab 10.1
Claim 1
A machine implemented method for              The Samsung device, which includes a touch-sensitive display, performs a machine
scrolling on a touch-sensitive display of a   implemented method for scrolling on the touch-sensitive display.
device comprising:




                                                        (Screenshot of the Samsung Galaxy Tab 10.1 scrolling an image.)




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         U.S. Patent No. 7,844,915                                                Samsung Galaxy Tab 10.1
receiving a user input, the user input is one   The Samsung device receives a user input. The user input includes one or more input
or more input points applied to the touch-      points (one or more fingers) applied to the touch-sensitive display that is integrated
sensitive display that is integrated with the   with the Samsung device.
device;




                                                          (Screenshot of the Samsung Galaxy Tab 10.1 receiving user input.)




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         U.S. Patent No. 7,844,915                                            Samsung Galaxy Tab 10.1
creating an event object in response to the
user input;

determining whether the event object
invokes a scroll or gesture operation by
distinguishing between a single input point
applied to the touch-sensitive display that
is interpreted as the scroll operation and
two or more input points applied to the
touch-sensitive display that are interpreted
as the gesture operation;




                                               (Screenshots of the Samsung Galaxy Tab 10.1 scrolling in response to a single input
                                                point applied to the touch-sensitive display and scaling in response to two or more
                                                                input points applied to the touch-sensitive display.)




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        U.S. Patent No. 7,844,915                                 Samsung Galaxy Tab 10.1




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         U.S. Patent No. 7,844,915                                               Samsung Galaxy Tab 10.1
issuing at least one scroll or gesture call   The Samsung device issues at least one scroll or gesture call based on invoking the
based on invoking the scroll or gesture       scroll or gesture operation. The Samsung device responds to at least one scroll call, if
operation;                                    issued, by scrolling a window having a view associated with the event object based on
                                              an amount of a scroll (related to the distance the finger is moved) with the scroll
responding to at least one scroll call, if    stopped at a predetermined position in relation to the user input.
issued, by scrolling a window having a
view associated with the event object based
on an amount of a scroll with the scroll
stopped at a predetermined position in
relation to the user input; and




                                                         (Screenshot of the Samsung Galaxy Tab 10.1 scrolling an image.)




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        U.S. Patent No. 7,844,915                                 Samsung Galaxy Tab 10.1




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        U.S. Patent No. 7,844,915                                 Samsung Galaxy Tab 10.1




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         U.S. Patent No. 7,844,915                                               Samsung Galaxy Tab 10.1
responding to at least one gesture call, if    The Samsung device responds to at least one gesture call, if issued, by scaling the view
issued, by scaling the view associated with    associated with the event object based on receiving the two or more input points (two
the event object based on receiving the two    or more fingers) in the form of the user input.
or more input points in the form of the user
input.




                                                          (Screenshot of the Samsung Galaxy Tab 10.1 scaling an image.)




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        U.S. Patent No. 7,844,915                                Samsung Galaxy Tab 10.1




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        U.S. Patent No. 7,844,915                                           Samsung Galaxy Tab 10.1
Claim 2
The method as in claim 1, further            The Samsung device rubberbands a scrolling region displayed within the window by a
comprising:                                  predetermined maximum displacement when the scrolling region exceeds a window
                                             edge based on the scroll.
rubberbanding a scrolling region displayed
within the window by a predetermined
maximum displacement when the scrolling
region exceeds a window edge based on the
scroll.




                                               .




                                                    (Screenshots of the Samsung Galaxy Tab 10.1 rubberbanding an image.)




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        U.S. Patent No. 7,844,915                                               Samsung Galaxy Tab 10.1




Claim 3
The method as in claim 1, further               The Samsung device attaches scroll indicators to the window edge.
comprising:

attaching scroll indicators to a content edge
of the window.

                                                                                                                    Content edge
                                                                                                                    of the window




                                                                                                                    Scroll indicator




                                                 (Screenshot of the Samsung Galaxy Tab 10.1 attaching a scroll indicator to a content
                                                                              edge of the window.)




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        U.S. Patent No. 7,844,915                                           Samsung Galaxy Tab 10.1
Claim 4
The method as in claim 1, further           The Samsung device attaches scroll indicators to the window edge.
comprising:

attaching scroll indicators to the window
edge.

                                                                                                                Window edge




                                                                                                                Scroll indicator




                                            (Screenshot of the Samsung Galaxy Tab 10.1 attaching a scroll indicator to the window
                                                                                  edge.)




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        U.S. Patent No. 7,844,915                                                Samsung Galaxy Tab 10.1
Claim 5
The method as in claim 1, wherein
determining whether the event object
invokes a scroll or gesture operation is
based on receiving a drag user input for a
certain time period.



Claim 6
The method as in claim 1, further              The Samsung device responds to at least one gesture call, if issued, by rotating a view
comprising:                                    associated with the event object based on receiving a plurality of input points (plurality
                                               of fingers) in the form of the user input.
responding to at least one gesture call, if
issued, by rotating a view associated with
the event object based on receiving a
plurality of input points in the form of the
user input.




                                                          (Screenshot of the Samsung Galaxy Tab 10.1 rotating an image.)




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        U.S. Patent No. 7,844,915                                             Samsung Galaxy Tab 10.1
Claim 7
The method as in claim 1, wherein the         The Samsung device is a multi touch portable device.
device is one of: a data processing device,
a portable device, a portable data
processing device, a multi touch device, a
multi touch portable device, a wireless
device, and a cell phone.




                                                  (Screenshot of the Samsung Galaxy Tab 10.1 receiving multiple input points.)




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        U.S. Patent No. 7,844,915                                         Samsung Galaxy Tab 10.1
Claim 8
A machine readable storage medium         The Samsung device includes a computer readable storage medium storing executable
storing executable program instructions   program instructions. The executable program instructions, when executed, cause the
which when executed cause a data          Samsung device to perform a method.
processing system to perform a method
comprising:




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         U.S. Patent No. 7,844,915                                               Samsung Galaxy Tab 10.1
receiving a user input, the user input is    The instructions, when executed, cause the Samsung device to receive a user input.
one or more input points applied to a        The user input includes one or more input points (one or more fingers) applied to the
touch-sensitive display that is integrated   touch-sensitive display that is integrated with the Samsung device.
with the data processing system;




                                                       (Screenshot of the Samsung Galaxy Tab 10.1 receiving user input.)




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         U.S. Patent No. 7,844,915                                            Samsung Galaxy Tab 10.1
creating an event object in response to the
user input;

determining whether the event object
invokes a scroll or gesture operation by
distinguishing between a single input
point applied to the touch-sensitive
display that is interpreted as the scroll
operation and two or more input points
applied to the touch-sensitive display that
are interpreted as the gesture operation;




                                              (Screenshots of the Samsung Galaxy Tab 10.1 scrolling in response to a single input
                                               point applied to the touch-sensitive display and scaling in response to two or more
                                                               input points applied to the touch-sensitive display.)




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         U.S. Patent No. 7,844,915                                              Samsung Galaxy Tab 10.1
issuing at least one scroll or gesture call   The instructions, when executed, cause the Samsung device to issue at least one scroll
based on invoking the scroll or gesture       or gesture call based on invoking the scroll or gesture operation. The instructions,
operation;                                    when executed, also cause the Samsung device to respond to at least one scroll call, if
                                              issued, by scrolling a window having a view associated with the event object.
responding to at least one scroll call, if
issued, by scrolling a window having a
view associated with the event object; and




                                                        (Screenshot of the Samsung Galaxy Tab 10.1 scrolling an image.)




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         U.S. Patent No. 7,844,915                                                Samsung Galaxy Tab 10.1
responding to at least one gesture call, if   The instructions, when executed, cause the Samsung device to at least one gesture
issued, by scaling the view associated with   call, if issued, by scaling the view associated with the event object based on receiving
the event object based on receiving the       the two or more input points (two or more fingers) in the form of the user input.
two or more input points in the form of the
user input.




                                                         (Screenshot of the Samsung Galaxy Tab 10.1 scaling an image.)




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        U.S. Patent No. 7,844,915                                            Samsung Galaxy Tab 10.1
Claim 9
The medium as in claim 8, further            The instructions, when executed, cause the Samsung device to rubberband a scrolling
comprising:                                  region displayed within the window by a predetermined maximum displacement when
                                             the scrolled region exceeds a window edge based on the scroll.
rubberbanding a scrolling region displayed
within the window by a predetermined
maximum displacement when the scrolled
region exceeds a window edge based on the
scroll.




                                                    (Screenshots of the Samsung Galaxy Tab 10.1 rubberbanding an image.)




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        U.S. Patent No. 7,844,915                                                Samsung Galaxy Tab 10.1
Claim 10
The medium as in claim 8, further               The instructions, when executed, cause the Samsung device to attach scroll indicators
comprising:                                     to a content edge of the view.

attaching scroll indicators to a content edge
of the view.


                                                                                                                   Content edge
                                                                                                                   of the view




                                                                                                                     Scroll indicator




                                                 (Screenshot of the Samsung Galaxy Tab 10.1 attaching a scroll indicator to a content
                                                                                edge of the view.)




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        U.S. Patent No. 7,844,915                                          Samsung Galaxy Tab 10.1
Claim 11
The medium as in claim 8, further         The instructions, when executed, cause the Samsung device to attach scroll indicators
comprising:                               to a window edge of the view.

attaching scroll indicators to a window
edge of the view.

                                                                                                             Window edge of
                                                                                                             the view




                                                                                                              Scroll indicator




                                           (Screenshot of the Samsung Galaxy Tab 10.1 attaching a scroll indicator to a window
                                                                          edge of the view.)




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          U.S. Patent No. 7,844,915                                              Samsung Galaxy Tab 10.1
Claim 12
The medium as in claim 8, wherein              The instructions, when executed, cause the Samsung device to determine whether the
determining whether the event object           event object invokes a scroll or gesture operation based on receiving a drag user input
invokes a scroll or gesture operation is       for a certain time period.
based on receiving a drag user input for a
certain time period.
Claim 13
The medium as in claim 8, further              The Samsung device responds to at least one gesture call, if issued, by rotating a view
comprising:                                    associated with the event object based on receiving a plurality of input points (plurality
                                               of fingers) in the form of the user input.
responding to at least one gesture call, if
issued, by rotating a view associated with
the event object based on receiving a
plurality of input points in the form of the
user input.




                                                          (Screenshot of the Samsung Galaxy Tab 10.1 rotating an image.)




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         U.S. Patent No. 7,844,915                                           Samsung Galaxy Tab 10.1
Claim 14
The medium as in claim 8, wherein the        The Samsung device is a multi touch portable device.
data processing system is one of: a data
processing device, a portable device, a
portable data processing device, a multi
touch device, a multi touch portable device,
a wireless device, and a cell phone.




                                               (Screenshot of the Samsung Galaxy Tab 10.1 receiving multiple input points.)




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       U.S. Patent No. 7,844,915                                                Samsung Galaxy Tab 10.1
Claim 15
An apparatus, comprising:                     The Samsung device includes a processor executing computer instructions for
                                              receiving, through a hardware device, a user input on a touch-sensitive display of the
means for receiving, through a hardware       apparatus, the user input is one or more input points (one or more fingers) applied to
device, a user input on a touch-sensitive     the touch-sensitive display that is integrated with the Samsung device.
display of the apparatus, the user input is
one or more input points applied to the
touch-sensitive display that is integrated
with the apparatus;




                                                        (Screenshot of the Samsung Galaxy Tab 10.1 receiving user input.)




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        U.S. Patent No. 7,844,915                                             Samsung Galaxy Tab 10.1
means for creating an event object in
response to the user input;

means for determining whether the event
object invokes a scroll or gesture operation
by distinguishing between a single input
point applied to the touch-sensitive display
that is interpreted as the scroll operation
and two or more input points applied to the
touch-sensitive display that are interpreted
as the gesture operation;




                                               (Screenshots of the Samsung Galaxy Tab 10.1 scrolling in response to a single input
                                                point applied to the touch-sensitive display and scaling in response to two or more
                                                                input points applied to the touch-sensitive display.)




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         U.S. Patent No. 7,844,915                                                  Samsung Galaxy Tab 10.1
means for issuing at least one scroll or       The Samsung device includes a processor executing computer instructions for issuing
gesture call based on invoking the scroll or   at least one scroll or gesture call based on invoking the scroll or gesture operation. The
gesture operation;                             processor also executing computer instructions for responding to at least one scroll call,
                                               if issued, by scrolling a window having a view associated with the event object.
means for responding to at least one scroll
call, if issued, by scrolling a window
having a view associated with the event
object; and




                                                          (Screenshot of the Samsung Galaxy Tab 10.1 scrolling an image.)




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         U.S. Patent No. 7,844,915                                               Samsung Galaxy Tab 10.1
means for responding to at least one           The Samsung device includes a processor executing computer instructions for
gesture call, if issued, by scaling the view   responding to at least one gesture call, if issued, by scaling the view associated with the
associated with the event object based on      event object based on receiving the two or more input points (two or more fingers) in
receiving the two or more input points in      the form of the user input.
the form of the user input.




                                                           (Screenshot of the Samsung Galaxy Tab 10.1 scaling an image.)




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        U.S. Patent No. 7,844,915                                           Samsung Galaxy Tab 10.1
Claim 16
The apparatus as in claim 15, further        The Samsung device includes a processor executing computer instructions for
comprising:                                  rubberbanding a scrolling region displayed within the window by a predetermined
                                             maximum displacement when the scrolling region exceeds a window edge based on the
means for rubberbanding a scrolling region   scroll.
displayed within the window by a
predetermined maximum displacement
when the scrolling region exceeds a
window edge based on the scroll.




                                                       (Screenshots of the Samsung Galaxy Tab 10.1 rubberbanding an image.)




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        U.S. Patent No. 7,844,915                                            Samsung Galaxy Tab 10.1
Claim 17
The apparatus as in claim 15, further        The Samsung device includes a processor executing computer instructions for
comprising:                                  attaching scroll indicators to a content edge of the window.

means for attaching scroll indicators to a
content edge of the window.


                                                                                                                 Content edge
                                                                                                                 of the window




                                                                                                                 Scroll indicator




                                              (Screenshot of the Samsung Galaxy Tab 10.1 attaching a scroll indicator to a content
                                                                           edge of the window.)




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        U.S. Patent No. 7,844,915                                              Samsung Galaxy Tab 10.1
Claim 18
The apparatus as in claim 15, further          The Samsung device includes a processor executing computer instructions for
comprising:                                    attaching scroll indicators to the window edge.

means for attaching scroll indicators to the
window edge.


                                                                                                                  Window edge




                                                                                                                  Scroll indicator




                                               (Screenshot of the Samsung Galaxy Tab 10.1 attaching a scroll indicator to the window
                                                                                     edge.)
Claim 19
The apparatus as in claim 15, wherein
determining whether the event object
invokes a scroll or gesture operation is
based on receiving a drag user input for a
certain time period.


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        U.S. Patent No. 7,844,915                                                Samsung Galaxy Tab 10.1
Claim 20
The apparatus as in claim 15, further          The Samsung device responds to at least one gesture call, if issued, by rotating a view
comprising:                                    associated with the event object based on receiving a plurality of input points (plurality
                                               of fingers) in the form of the user input.
means for responding to at least one
gesture call, if issued, by rotating a view
associated with the event object based on
receiving a plurality of input points in the
form of the user input.




                                                          (Screenshot of the Samsung Galaxy Tab 10.1 rotating an image.)




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         U.S. Patent No. 7,844,915                                           Samsung Galaxy Tab 10.1
Claim 21
The apparatus as in claim 15, wherein the    The Samsung device is a multi touch portable device.
apparatus is one of: a data processing
device, a portable device, a portable data
processing device, a multi touch device, a
multi touch portable device, a wireless
device, and a cell phone.




                                                 (Screenshot of the Samsung Galaxy Tab 10.1 receiving multiple input points.)




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